                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  DANVILLE DIVISION

   UNITED STATES OF AMERICA                     )
                                                )
         v.                                     )       Case No.: 4:18-CR-00011-MFU-RSB
                                                )
   SHABBA LARUN CHANDLER,                       )
                                                )
         Defendant                              )

    DEFENDANT’S MOTION IN LIMINE TO EXCLUDE CERTAIN PROPOSED TRIAL
    EXHIBITS AND OBJECTIONS TO THE GOVERNMENT’S PROPOSED EXHIBITS

         COMES NOW, the Defendant, Shabba L. Chandler (the “Defendant”), by counsel, and

  hereby submits as follows for his Motion in Limine and Objections to the Government’s

  Proposed Exhibits. The reasons for each objection and the grounds for exclusion of each exhibit

  are set forth herein or, where indicated, in the forthcoming accompanying memorandum of law.

                                     GENERAL OBJECTIONS

         The Defendant objects to the Government’s exhibits to the extent they violent the

  confrontation clause and the Defendant’s Sixth Amendment rights.

         The Defendant objects to the introduction of any firearm identification evidence as

  articulated in his Motion to Exclude Firearm Identification Evidence. [ECF No. 581].

                                     SPECIFIC OBJECTIONS

         The Defendant hereby moves to exclude the exhibits identified below for the ground(s)

  contained in the Objection(s) column, specifically the introduction of the exhibits identified

  below would violate the Federal Rule(s) of Evidence identified.

    Exhibit                 Description                                Objection(s)
    Number
      1          DPD Incident Rpt # 15‐010628 re               Hearsay. Fed. R. Evid. 802.
                     aggravated assault at 177             Relevance. Fed. R. Evid. 402- 403.
                  Sunset Dr., Danville, 12/9/2015       Impermissible character evidence. Fed. R.

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                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
       2         PHOTO: House and Street             Relevance. Fed. R. Evid. 402- 403.
                                                  Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
       3       PHOTO: Front door and porch           Relevance. Fed. R. Evid. 402- 403.
                                                  Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
       4         PHOTO: Porch and chairs             Relevance. Fed. R. Evid. 402- 403.
                                                  Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
       5     PHOTO: Living room, TV w/bullet         Relevance. Fed. R. Evid. 402- 403.
                         hole                     Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
       6      PHOTO: Living room, TV, front          Relevance. Fed. R. Evid. 402- 403.
                         door                     Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
       7         PHOTO: Carpet w/ bullet             Relevance. Fed. R. Evid. 402- 403.
                                                  Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
       8        PHOTO: Wall w/bullet hole            Relevance. Fed. R. Evid. 402- 403.
                                                  Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
       9        PHOTO: Front door and wall           Relevance. Fed. R. Evid. 402- 403.
                     w/bullet holes               Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
      10        PHOTO: Wall w/bullet holes           Relevance. Fed. R. Evid.402- 403.
                                                  Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
      11     PHOTO: Refrigerator w/bullet hole       Relevance. Fed. R. Evid.402- 403.
                                                  Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum
      12     PHOTO: Wall w/ bullet hole next to      Relevance. Fed. R. Evid.402- 403.
                     refrigerator                 Impermissible character evidence. Fed. R.
                                                   Evid. 404(b)(1); see also accompanying
                                                                memorandum

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      13       PHOTO: Bedroom wall w/bullet           Relevance. Fed. R. Evid.402- 403.
                         holes                     Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      14      Request for Lab Exam re ballistics      Relevance. Fed. R. Evid.402- 403.
                                                   Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      15     Certificate of Analysis # W15‐11669      Relevance. Fed. R. Evid.402- 403.
                     re ballistics, 6/30/2016      Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      16     Certificate of Analysis # W15‐11669      Relevance. Fed. R. Evid.402- 403.
                     Supplemental Report,          Impermissible character evidence. Fed. R.
                            7/7/2016                Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      17     Certificate of Analysis # W15‐11669      Relevance. Fed. R. Evid.402- 403.
                     Supplemental Report,          Impermissible character evidence. Fed. R.
                            5/7/2019                Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      18       PHOTOS: Item 1 of Lab Report           Relevance. Fed. R. Evid.402- 403.
                      W15‐11669                    Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      19      PHOTOS: Item 12 of Lab Report           Relevance. Fed. R. Evid.402- 403.
                     W15‐11669                     Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      20      PHOTOS: Test fires rounds from          Relevance. Fed. R. Evid.402- 403.
                 Lab Report W15‐11669              Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      21         Full Report re W15‐11669,            Relevance. Fed. R. Evid.402- 403.
                6/30/2016 including examiner       Impermissible character evidence. Fed. R.
                        worksheets                  Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      22     Full Supplemental Report, 7/7/2016       Relevance. Fed. R. Evid.402- 403.
                   re W15‐11669 including          Impermissible character evidence. Fed. R.
              examiner worksheets, IBIS TRAX        Evid. 404(b)(1); see also accompanying
                         worksheets                              memorandum
      23          Full Supplemental Report,           Relevance. Fed. R. Evid.402- 403.
                   5/17/2019 re W15‐11669          Impermissible character evidence. Fed. R.
               including examiner worksheets        Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      24      DPD Incident Rpt # 16‐003150 re             Hearsay. Fed. R. Evid. 802.
                 aggravated assault at 44             Relevance. Fed. R. Evid. 402- 403.

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               Garland St, Danville, 4/26/2016       Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      25      DPD Incident Rpt # 16‐003152 re               Hearsay. Fed. R. Evid. 802.
                  aggravated assault at 618             Relevance. Fed. R. Evid. 402- 403.
             Berryman Ave., Danville, 4/26/2016      Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      26            PHOTO: Street view                  Relevance. Fed. R. Evid.402- 403.
                                                     Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      27            PHOTO: Street view                  Relevance. Fed. R. Evid.402- 403.
                                                     Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      28      PHOTO: Street, Black Impala rear          Relevance. Fed. R. Evid.402- 403.
                                                     Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      29     PHOTO: Street, Black Impala front          Relevance. Fed. R. Evid.402- 403.
                                                     Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      30       PHOTO: Front of Black Impala,            Relevance. Fed. R. Evid.402- 403.
                   evidence marker 8                 Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      31      PHOTO: Black Impala, evidence             Relevance. Fed. R. Evid.402- 403.
                     markers 9, 10                   Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      32      PHOTO: Rear of Impala, evidence           Relevance. Fed. R. Evid.402- 403.
                      markers 1‐ 4                   Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      33      PHOTO: Rear of Impala, evidence           Relevance. Fed. R. Evid.402- 403.
                      markers 9‐11                   Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      34     PHOTO: Passenger side of Impala,           Relevance. Fed. R. Evid.402- 403.
                 evidence markers 8‐12               Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      35       PHOTO: Front driver's side of            Relevance. Fed. R. Evid.402- 403.
               Impala, evidence markers 5‐7          Impermissible character evidence. Fed. R.

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                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      36     PHOTO: Front of Impala, evidence         Relevance. Fed. R. Evid.402- 403.
                    markers 5, 8‐11                Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      37        PHOTO: Evidence marker 9 ‐            Relevance. Fed. R. Evid.402- 403.
                       magazine                    Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      38        PHOTO: Evidence marker 9 ‐            Relevance. Fed. R. Evid.402- 403.
                       magazine                    Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      39      PHOTO: Evidence markers 10‐12,          Relevance. Fed. R. Evid.402- 403.
                      shell casings                Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      40      PHOTO: Evidence marker 14‐15,           Relevance. Fed. R. Evid.402- 403.
                      shell casings                Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      41      PHOTO: Evidence markers 16‐17,          Relevance. Fed. R. Evid.402- 403.
                      shell casings                Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      42           PHOTO: Black Impala                Relevance. Fed. R. Evid.402- 403.
                                                   Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      43       PHOTO: VIN of Black Impala             Relevance. Fed. R. Evid.402- 403.
                                                   Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      44        PHOTO: Front seat of Impala           Relevance. Fed. R. Evid.402- 403.
                  through driver window            Impermissible character evidence. Fed. R.
                                                    Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      45        PHOTO: Rear seat of Impala            Relevance. Fed. R. Evid.402- 403.
                  through driver side rear         Impermissible character evidence. Fed. R.
                       window, rifle                Evid. 404(b)(1); see also accompanying
                                                                 memorandum
      46        PHOTO: Rear seat of Impala            Relevance. Fed. R. Evid.402- 403.
                 through passenger side rear       Impermissible character evidence. Fed. R.
                       window, rifle                Evid. 404(b)(1); see also accompanying
                                                                 memorandum

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      47        PHOTO: Front seat of Impala             Relevance. Fed. R. Evid.402- 403.
                 through passenger window            Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      48     PHOTO: Front passenger rear door           Relevance. Fed. R. Evid.402- 403.
                   armrest, 6 bullets                Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      49       PHOTO: Front driver's side rear          Relevance. Fed. R. Evid.402- 403.
                   door armrest, bullets             Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      50       PHOTO: Front of white 2 story            Relevance. Fed. R. Evid.402- 403.
                      house, # 755                   Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      51      PHOTO: Side of white structure,           Relevance. Fed. R. Evid.402- 403.
                      bullet hole                    Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      52      PHOTO: House number 755 # 2               Relevance. Fed. R. Evid.402- 403.
                                                     Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      53      PHOTO: Interior of 755, wall w/           Relevance. Fed. R. Evid.402- 403.
                       bullet hole                   Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      54      PHOTO: Interior of 755, wall w/           Relevance. Fed. R. Evid.402- 403.
                       bullet hole                   Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      55     PHOTO: Chevy HRV, front driver's           Relevance. Fed. R. Evid.402- 403.
                    window broken                    Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      56      PHOTO: Shattered glass on front           Relevance. Fed. R. Evid.402- 403.
                      driver's seat                  Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      57     PHOTO: Bullet hole in rear quarter         Relevance. Fed. R. Evid.402- 403.
                    panel above tire                 Impermissible character evidence. Fed. R.
                                                      Evid. 404(b)(1); see also accompanying
                                                                   memorandum
      58      PHOTO: Blood stains on interior           Relevance. Fed. R. Evid.402- 403.
                  front passenger door               Impermissible character evidence. Fed. R.

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                                                     Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      59     Certificate of Analysis W16‐4792 re       Relevance. Fed. R. Evid.402- 403.
                    ballistics, Items 1, 4, 5;      Impermissible character evidence. Fed. R.
              11/1/2016 (re: DPD Rpt 16‐3150)        Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      60      Certificate of Analysis # W16‐4792       Relevance. Fed. R. Evid.402- 403.
                      Supplemental Report,          Impermissible character evidence. Fed. R.
             Item 4; 11/21/2016 (re: DPD Rpt 16‐     Evid. 404(b)(1); see also accompanying
                               3150)                              memorandum
      61      Certificate of Analysis # W16‐4792       Relevance. Fed. R. Evid.402- 403.
                      Supplemental Report,          Impermissible character evidence. Fed. R.
              Item 4; 5/14/2019 (re: DPD Rpt 16‐     Evid. 404(b)(1); see also accompanying
                               3150)                              memorandum
      62     Certificate of Analysis W16‐4230 re       Relevance. Fed. R. Evid.402- 403.
                    ballistics, Items 5‐21, 23,     Impermissible character evidence. Fed. R.
                 26; 11/7/2016 (re: DPD Rpt 16‐      Evid. 404(b)(1); see also accompanying
                               3152)                              memorandum
      63      Certificate of Analysis # W16‐4230       Relevance. Fed. R. Evid.402- 403.
                      Supplemental Report,          Impermissible character evidence. Fed. R.
                Items 12, 23, 26; 11/28/2016 (re:    Evid. 404(b)(1); see also accompanying
                       DPD Rpt 16‐3152)                           memorandum
      64      Certificate of Analysis # W16‐4230       Relevance. Fed. R. Evid.402- 403.
                      Supplemental Report,          Impermissible character evidence. Fed. R.
               Items 23, 26; 5/17/2019 (re: DPD      Evid. 404(b)(1); see also accompanying
                           Rpt 16‐3152)                           memorandum
      65            Full Report re W16‐4792,           Relevance. Fed. R. Evid.402- 403.
                11/1/16/2016 including examiner     Impermissible character evidence. Fed. R.
                            worksheets               Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      66       Potential NIBIN Association re          Relevance. Fed. R. Evid.402- 403.
                 COA W16‐4792, 5/1/2017             Impermissible character evidence. Fed. R.
                                                     Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      67      Full Supplemental Report re W16‐         Relevance. Fed. R. Evid.402- 403.
                      4792, 11/21/2016              Impermissible character evidence. Fed. R.
               including examiner worksheets         Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      68      Full Supplemental Report re W16‐         Relevance. Fed. R. Evid.402- 403.
                  4792, 5/14/2019 including         Impermissible character evidence. Fed. R.
                     examiner worksheets             Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      69         Full Report re W16‐4230,              Relevance. Fed. R. Evid.402- 403.
              11/7/16/2016 including examiner       Impermissible character evidence. Fed. R.
                        worksheets                   Evid. 404(b)(1); see also accompanying
                                                                  memorandum

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      70       Potential NIBIN Association re          Relevance. Fed. R. Evid.402- 403.
                 COA W16‐4230, 5/1/2017             Impermissible character evidence. Fed. R.
                                                     Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      71      Full Supplemental Report re W16‐         Relevance. Fed. R. Evid.402- 403.
                      4230, 11/28/2016              Impermissible character evidence. Fed. R.
               including examiner worksheets         Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      72      Full Supplemental Report re W16‐         Relevance. Fed. R. Evid.402- 403.
                  4230, 5/17/2019 including         Impermissible character evidence. Fed. R.
                     examiner worksheets             Evid. 404(b)(1); see also accompanying
                                                                  memorandum
      73     DPD Incident Rpt # 16‐004722 re               Hearsay. Fed. R. Evid. 802.
                 aggravated assault at 111
                North Hills Court, Danville,
                        6/16/2016
      182     DPD Incident 16‐006833, Motley               Hearsay. Fed. R. Evid. 802.
                   homicide, 8/20/2016
      183    911 Communication Event Report,               Hearsay. Fed. R. Evid. 802.
                        8/20/2016
      191     PHOTO: Body bag evidence tag             Relevance. Fed. R. Evid. 402- 403.

      215        Homicide‐file 3 Transcript                Hearsay. Fed. R. Evid. 802.

      236        PHOTO: Body bag with tag              Relevance. Fed. R. Evid. 402- 403.
      241         Diagram of projectile path             Cumulative. Fed. R. Evid. 403
      246       Maryland National Park Police              Hearsay. Fed. R. Evid. 802.
                         Arrest Record                 Relevance. Fed. R. Evid. 402- 403.
      247       Maryland National Park Police              Hearsay. Fed. R. Evid. 802.
                 Property Record for Smith &           Relevance. Fed. R. Evid. 402- 403.
                 Wesson .40 cal handgun, SN
                          FYH4828
      263         DPD Incident 16‐006954,                  Hearsay. Fed. R. Evid. 802.
               aggravated assualt on Colquhoun
                   St., Danville, 8/24/2016
      298        DPD Incident 16‐008984 re                 Hearsay. Fed. R. Evid. 802.
                     drug/gun violations
      318      DPD Incident 16‐009055, search              Hearsay. Fed. R. Evid. 802.
                   warrant execution at 252
                    Parker Rd.; 11/4/2016
      324    Firearm and Toolmark Identification    Improper Summary. Fed. R. Evid. 1006.
                             slides
     1139          Facebook Conversation                  Hearsay. Fed. R. Evid. 802.
                    2015_09_22‐KS‐Photo             Best Evidence Rule. Fed. R. Evid. 1002.
                    864675433587950.jpg
     1140          Facebook Conversation                   Hearsay. Fed. R. Evid. 802.

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                    2015_09_22‐KS‐Photo           Best Evidence Rule. Fed. R. Evid. 1002.
                    864675436921283.jpg
     1141           Facebook Conversation               Hearsay. Fed. R. Evid. 802.
                    2015_09_22‐KS‐Photo           Best Evidence Rule. Fed. R. Evid. 1002.
                    864675440254616.jpg
     1142           Facebook Conversation               Hearsay. Fed. R. Evid. 802.
                    2015_09_22‐KS‐Photo           Best Evidence Rule. Fed. R. Evid. 1002.
                    864675443587949.jpg
     1144    Facebook Conversation 2015_9_22‐           Hearsay. Fed. R. Evid. 802.
                          KS‐Photo                Best Evidence Rule. Fed. R. Evid. 1002.
                    864675430254617.jpg
     1514    302: re Shabba Chandler Cellphones         Hearsay. Fed. R. Evid. 802.
                                                    Relevance. Fed. R. Evid. 402- 403.
     1515       302: re Shabba Chandler and             Hearsay. Fed. R. Evid. 802.
                  Montez Allen cellphones           Relevance. Fed. R. Evid. 402- 403.
     1516         Laquante Adams Arrest                 Hearsay. Fed. R. Evid. 802.
             Vid000_Clip 1_s.mp4; Clip: 40:57 ‐     Relevance. Fed. R. Evid. 402- 403.
                            45:58                 Improper Bolstering. Fed. R. Evid. 608.
     1517     Laquante Adams Nov 2018 FBI               Hearsay. Fed. R. Evid. 802.
                arrest video Part 1 transcript      Relevance. Fed. R. Evid. 402- 403.
                                                  Improper Bolstering. Fed. R. Evid. 608.
     1518         Laquante Adams Arrest                 Hearsay. Fed. R. Evid. 802.
             Vid001_Clip 2_s.mp4; Clip: 01:46 ‐     Relevance. Fed. R. Evid. 402- 403.
                            18:58                 Improper Bolstering. Fed. R. Evid. 608.
     1519         Laquante Adams Arrest                 Hearsay. Fed. R. Evid. 802.
             Vid001_Clip 3_s.mp4; Clip: 30:21 ‐     Relevance. Fed. R. Evid. 402- 403.
                            35:05                 Improper Bolstering. Fed. R. Evid. 608.
     1520     Laquante Adams Nov 2018 FBI               Hearsay. Fed. R. Evid. 802.
                   arrest video Parts 2, 3          Relevance. Fed. R. Evid. 402- 403.
                          transcript              Improper Bolstering. Fed. R. Evid. 608.
     1521        Laquantes Adams Proffer                Hearsay. Fed. R. Evid. 802.
                   Agreement, 3/11/2019             Relevance. Fed. R. Evid. 402- 403.
                                                  Improper Bolstering. Fed. R. Evid. 608.
     1522    302 re Adams interview, 3/11/2019          Hearsay. Fed. R. Evid. 802.
                                                    Relevance. Fed. R. Evid. 402- 403.
                                                  Improper Bolstering. Fed. R. Evid. 608.
     1523     Agent Notes of Adams interview,           Hearsay. Fed. R. Evid. 802.
                        3/11/2019                   Relevance. Fed. R. Evid. 402- 403.
                                                  Improper Bolstering. Fed. R. Evid. 608.
     1524         Laquantes Adams Proffer               Hearsay. Fed. R. Evid. 802.
                   Agreement, 3/20/2019             Relevance. Fed. R. Evid. 402- 403.
                                                  Improper Bolstering. Fed. R. Evid. 608.
     1525    302 re Adams interview, 3/20/2019          Hearsay. Fed. R. Evid. 802.
                                                    Relevance. Fed. R. Evid. 402- 403.
                                                  Improper Bolstering. Fed. R. Evid. 608.
     1526     Agent Notes of Adams interview,           Hearsay. Fed. R. Evid. 802.

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                         3/20/2019                   Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1558       Laquante Adams Plea Form,           Relevance. Fed. R. Evid. 402- 403.
                         3/26/2019
      1559        Tyson Bowens Grand Jury                Hearsay. Fed. R. Evid. 802.
                    Transcript, 11/5/2018            Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1576         Bowens interview notes                Hearsay. Fed. R. Evid. 802.
                                                     Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1577       Tanasia Coleman Grand Jury              Hearsay. Fed. R. Evid. 802.
                    Transcript, 11/6/2018            Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1601        Tanasia Coleman Proffer                Hearsay. Fed. R. Evid. 802.
                   Agreement, 8/7/2018               Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1602        302 re Coleman interview,              Hearsay. Fed. R. Evid. 802.
                          9/25/2018                  Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1603    Agent Notes of Coleman Interview,          Hearsay. Fed. R. Evid. 802.
                          8/7/2018                   Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1604        Tanasia Coleman Proffer                Hearsay. Fed. R. Evid. 802.
                   Agreement, 8/8/2018               Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1605        302 re Coleman interview,              Hearsay. Fed. R. Evid. 802.
                          10/1/2018                  Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1606    Agent Notes of Coleman Interview,          Hearsay. Fed. R. Evid. 802.
                          8/8/2018                   Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1607        Tanasia Coleman Proffer                Hearsay. Fed. R. Evid. 802.
                   Agreement, 8/17/2018              Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1608        302 re Coleman interview,              Hearsay. Fed. R. Evid. 802.
                          11/7/2018                  Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1609    Agent Notes of Coleman Interview,          Hearsay. Fed. R. Evid. 802.
                         8/17/2018                   Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1610        Tanasia Coleman Proffer                Hearsay. Fed. R. Evid. 802.
                   Agreement, 9/13/2018              Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.
      1611        302 re Coleman interview,              Hearsay. Fed. R. Evid. 802.
                         10/25/2018                  Relevance. Fed. R. Evid. 402- 403.
                                                   Improper Bolstering. Fed. R. Evid. 608.

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      1612    Agent Notes of Coleman Interview,            Hearsay. Fed. R. Evid. 802.
                         9/13/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1613         Tanasia Coleman Proffer                 Hearsay. Fed. R. Evid. 802.
                    Agreement, 11/5/2018               Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1614   302 re Coleman Interview 11/7/2018            Hearsay. Fed. R. Evid. 802.
                                                       Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1615    Agent Notes of Coleman Interview,            Hearsay. Fed. R. Evid. 802.
                      8/17/2018/2018                   Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1618      Tanasia Colemen Plea Form,             Relevance. Fed. R. Evid. 402- 403.
                          11/6/2018
      1619      302 re arrest of Marcus Davis              Hearsay. Fed. R. Evid. 802.
                                                       Relevance. Fed. R. Evid. 402- 403.
      1621      302 re search of 2007 Mercury              Hearsay. Fed. R. Evid. 802.
                   Milan, LIC VWH 5583                 Relevance. Fed. R. Evid. 402- 403.
      1622      Search Warrant 4:18MJ90 for                Hearsay. Fed. R. Evid. 802.
                Mercury Milan, officer notes,          Relevance. Fed. R. Evid. 402- 403.
               Receipt for Property, Photo Log,
                  Evidence Recovery Log,
                           Diagram
      1627      Matthew Ferguson Grand Jury                Hearsay. Fed. R. Evid. 802.
                     Transcript, 6/7/2018              Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1630    Matthew Ferguson Grand Jury Ex.              Hearsay. Fed. R. Evid. 802.
                      MF‐3_Redacted                  Best Evidence Rule. Fed. R. Evid. 1002.
      1631    Matthew Ferguson Grand Jury Ex.              Hearsay. Fed. R. Evid. 802.
                          MF‐4                       Best Evidence Rule. Fed. R. Evid. 1002.
      1632    Matthew Ferguson Grand Jury Ex.              Hearsay. Fed. R. Evid. 802.
                          MF‐5                       Best Evidence Rule. Fed. R. Evid. 1002.
      1731    Matthew Ferguson Proffer Letter,             Hearsay. Fed. R. Evid. 802.
                        5/22/2018                      Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1732    302 re Ferguson Proffer, 5/22/2018           Hearsay. Fed. R. Evid. 802.
                                                       Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1733    Agent Notes of Ferguson Interview,           Hearsay. Fed. R. Evid. 802.
                          5/22/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1734     Matthew Ferguson Proffer Letter,            Hearsay. Fed. R. Evid. 802.
                         5/25/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1735    302 re Ferguson Proffer, 5/25/2018           Hearsay. Fed. R. Evid. 802.
                                                       Relevance. Fed. R. Evid. 402- 403.

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                                                      Improper Bolstering. Fed. R. Evid. 608.
      1736    Agent Notes of Ferguson Interview,            Hearsay. Fed. R. Evid. 802.
                          5/25/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
      1737     Matthew Ferguson Proffer Letter,             Hearsay. Fed. R. Evid. 802.
                         5/29/2018                      Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
      1738    302 re Ferguson Proffer, 5/29/2018            Hearsay. Fed. R. Evid. 802.
                                                        Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
      1739    Agent Notes of Ferguson Interview,            Hearsay. Fed. R. Evid. 802.
                          5/29/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
      1742      Matthew Ferguson Plea Form,             Relevance. Fed. R. Evid. 402- 403.
                          11/6/2018
      1743    302 re transport of evidence seized           Hearsay. Fed. R. Evid. 802.
                                                        Relevance. Fed. R. Evid. 402- 403.

      1745     302 re search of 134 Martindale              Hearsay. Fed. R. Evid. 802.
                       Drive, Danville                  Relevance. Fed. R. Evid. 402- 403.

      1746     ATF Firearms Trace Summary re                Hearsay. Fed. R. Evid. 802.
                 FIE Titan .25 cal pistol, SN
                           243296
     1776A      Stevie Johnson Proffer Letter,              Hearsay. Fed. R. Evid. 802.
                          9/27/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1776B   Handwritten notes of S Johnson                 Hearsay. Fed. R. Evid. 802.
             proffer                                    Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1776C       302 re Proffer of S Johnson                Hearsay. Fed. R. Evid. 802.
                                                        Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1777A      Stevie Johnson Proffer Letter,              Hearsay. Fed. R. Evid. 802.
                          9/27/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1777B     Handwritten notes of S Johnson               Hearsay. Fed. R. Evid. 802.
                          proffer                       Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1777C       302 re: Proffer of S Johnson               Hearsay. Fed. R. Evid. 802.
                                                        Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1778A      Stevie Johnson Proffer Letter,              Hearsay. Fed. R. Evid. 802.
                         10/10/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1778B     Handwritten notes of S Johnson               Hearsay. Fed. R. Evid. 802.

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                            proffer                     Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1778C       302 re Proffer of S Johnson                Hearsay. Fed. R. Evid. 802.
                                                        Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1779A      Stevie Johnson Proffer Letter,              Hearsay. Fed. R. Evid. 802.
                         10/11/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1779B     Handwritten notes of S Johnson               Hearsay. Fed. R. Evid. 802.
                          proffer                       Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
     1779C       302 re Proffer of S Johnson                Hearsay. Fed. R. Evid. 802.
                                                        Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
      1780        Stevie Johnson Grand Jury                 Hearsay. Fed. R. Evid. 802.
                    Testimony, 11/5/2018                Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
      1783    Stevie Johnson Guilty Plea Form,          Relevance. Fed. R. Evid. 402- 403.
                          12/7/2018
      1784   302 re execution of search warrant at          Hearsay. Fed. R. Evid. 802.
                      3418 90th St, # 32,               Relevance. Fed. R. Evid. 402- 403.
                       Lakewood, WA
      1785   302 re execution of search warrant at          Hearsay. Fed. R. Evid. 802.
                      3418 90th St, # 32,               Relevance. Fed. R. Evid. 402- 403.
                       Lakewood, WA
      1786    ATF Firearms Trace Summary re                 Hearsay. Fed. R. Evid. 802
                Ruger AR‐556 rifle, SN 855‐
                            20027
      1800   Ashley Ross Grand Jury Transcript,             Hearsay. Fed. R. Evid. 802.
                     5/7/2018 (Redacted)                Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
                                                        Confrontation Clause. Crawford v.
                                                         Washington, 541 U.S. 36 (2004)
      1813     Demetrius Staten Inv 10262017                Hearsay. Fed. R. Evid. 802.
                Vid000_Clip 1_s.mp4; Clip               Relevance. Fed. R. Evid. 402- 403.
                       41:00 ‐ 43:45                  Improper Bolstering. Fed. R. Evid. 608.
      1814     Demetrius Staten Inv 10262017                Hearsay. Fed. R. Evid. 802.
                Vid000_Clip 2_s.mp4; Clip               Relevance. Fed. R. Evid. 402- 403.
                       45:45 ‐ 46:41                  Improper Bolstering. Fed. R. Evid. 608.
      1815     Demetrius Staten Inv 10262017                Hearsay. Fed. R. Evid. 802.
                Vid000_Clip 3_s.mp4; Clip               Relevance. Fed. R. Evid. 402- 403.
                       47:10 ‐ 49:42                  Improper Bolstering. Fed. R. Evid. 608.
      1816     Demetrius Staten Inv 10262017                Hearsay. Fed. R. Evid. 802.
                Vid000_Clip 4_s.mp4; Clip               Relevance. Fed. R. Evid. 402- 403.
                       53:20 ‐ 54:50                  Improper Bolstering. Fed. R. Evid. 608.
      1817     Demetrius Staten Inv 10262017                Hearsay. Fed. R. Evid. 802.

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                Vid000_Clip 5_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                       57:34 ‐ 59:42            Improper Bolstering. Fed. R. Evid. 608.
      1818     Demetrius Staten Inv 10262017          Hearsay. Fed. R. Evid. 802.
                Vid001_Clip 1_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                       16:12 ‐ 17:09            Improper Bolstering. Fed. R. Evid. 608.
      1819     Demetrius Staten Inv 10262017          Hearsay. Fed. R. Evid. 802.
                Vid001_Clip 2_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                       21:30 ‐ 26:58            Improper Bolstering. Fed. R. Evid. 608.
      1820     Demetrius Staten Inv 10262017          Hearsay. Fed. R. Evid. 802.
                Vid001_Clip 3_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                       40:21 ‐ 42:30            Improper Bolstering. Fed. R. Evid. 608.
      1821     Demetrius Staten Inv 10262017          Hearsay. Fed. R. Evid. 802.
                Vid001_Clip 4_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                       44:00 ‐ 47:11            Improper Bolstering. Fed. R. Evid. 608.
      1822     Demetrius Staten Inv 10262017          Hearsay. Fed. R. Evid. 802.
                Vid001_Clip 5_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                       49:38 ‐ 57:16            Improper Bolstering. Fed. R. Evid. 608.
      1823     Demetrius Staten Inv 10262017          Hearsay. Fed. R. Evid. 802.
                Vid001_Clip 6_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                                                Improper Bolstering. Fed. R. Evid. 608.
      1824     Demetrius Staten Inv 10262017          Hearsay. Fed. R. Evid. 802.
                Vid001_Clip 7_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                       1:02:10 ‐ end            Improper Bolstering. Fed. R. Evid. 608.
      1825     Demetrius Staten Inv 10262017          Hearsay. Fed. R. Evid. 802.
                Vid002_Clip 1_s.mp4; Clip         Relevance. Fed. R. Evid. 402- 403.
                        0:00 ‐ 0:53             Improper Bolstering. Fed. R. Evid. 608.
      1826       Demetrius Staten STATEN              Hearsay. Fed. R. Evid. 802.
              INTERVIEW Transcript 10‐26‐17       Relevance. Fed. R. Evid. 402- 403.
                                                Improper Bolstering. Fed. R. Evid. 608.
      1827          Demetrius Staten Int              Hearsay. Fed. R. Evid. 802.
              11102017_Vid000_Clip 1_s.mp4;       Relevance. Fed. R. Evid. 402- 403.
                             Clip               Improper Bolstering. Fed. R. Evid. 608.
                        30:35 ‐ 42:22
      1828          Demetrius Staten Int              Hearsay. Fed. R. Evid. 802.
              11102017_Vid000_Clip 2_s.mp4;       Relevance. Fed. R. Evid. 402- 403.
                             Clip               Improper Bolstering. Fed. R. Evid. 608.
                        46:49 ‐47:01
      1829          Demetrius Staten Int              Hearsay. Fed. R. Evid. 802.
              11102017_Vid000_Clip 3_s.mp4;       Relevance. Fed. R. Evid. 402- 403.
                   Clip 1:00:00 ‐ 1:00:25       Improper Bolstering. Fed. R. Evid. 608.
      1830          Demetrius Staten Int              Hearsay. Fed. R. Evid. 802.
              11102017_Vid001_Clip 1_s.mp4;       Relevance. Fed. R. Evid. 402- 403.
                             Clip               Improper Bolstering. Fed. R. Evid. 608.
                         9:55 ‐ 12:00
      1831       Demetrius Staten interview           Hearsay. Fed. R. Evid. 802.
                   transcript, 11‐10‐2017         Relevance. Fed. R. Evid. 402- 403.

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                                                    Improper Bolstering. Fed. R. Evid. 608.
      1832     Demetrius Staten Proffer Letter,           Hearsay. Fed. R. Evid. 802.
                         2/15/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1833    302 re Staten interview, 2/22/2018          Hearsay. Fed. R. Evid. 802.
                                                      Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1834     Agent Notes of Staten interview,           Hearsay. Fed. R. Evid. 802.
                         2/15/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1835     Demetrius Staten Proffer Letter,           Hearsay. Fed. R. Evid. 802.
                         3/2/2018                     Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1836     302 of Staten interview, 3/2/2018          Hearsay. Fed. R. Evid. 802.
                                                      Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1837     Agent notes of Staten interview,           Hearsay. Fed. R. Evid. 802.
                          3/2/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1838      Demetrius Staten Proffer letter,          Hearsay. Fed. R. Evid. 802.
                          3/6/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1839     302 of Staten interview, 3/6/2018          Hearsay. Fed. R. Evid. 802.
                                                      Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1840     Agent notes of Staten interview,           Hearsay. Fed. R. Evid. 802.
                          3/6/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1841      Demetrius Staten Proffer letter,          Hearsay. Fed. R. Evid. 802.
                         3/28/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1842    302 of Staten interview, 3/28/2018          Hearsay. Fed. R. Evid. 802.
                                                      Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1843     Agent notes of Staten interview,           Hearsay. Fed. R. Evid. 802.
                         3/28/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1844       Demetrius Staten Grand Jury              Hearsay. Fed. R. Evid. 802.
                   Testimony, 5/16/2018               Relevance. Fed. R. Evid. 402- 403.
                                                    Improper Bolstering. Fed. R. Evid. 608.
      1849     Demetrius Staten Grand Jury Ex.            Hearsay. Fed. R. Evid. 802.
                            DS‐5                    Best Evidence Rule. Fed. R. Evid. 1002.
      1850     Demetrius Staten Grand Jury Ex.            Hearsay. Fed. R. Evid. 802.
                            DS‐6                    Best Evidence Rule. Fed. R. Evid. 1002.
      1911      Demetrius Staten Plea Form,           Relevance. Fed. R. Evid. 402- 403.
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      1912            Gang knowledge                         Hearsay. Fed. R. Evid. 802.
      1913            PHOTO: Line up                         Hearsay. Fed. R. Evid. 802.
                                                       Best Evidence Rule. Fed. R. Evid. 1002.
      1914      Jaquan Trent Advice of Rights,               Hearsay. Fed. R. Evid. 802.
                         11/13/2018                      Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
      1915       Trent Jaquan Int 11132018                   Hearsay. Fed. R. Evid. 802.
              Vid002_Clip 1_s.mp4; Clip 23:35            Relevance. Fed. R. Evid. 402- 403.
                           ‐ 20:28                     Improper Bolstering. Fed. R. Evid. 608.
      1916       Trent Jaquan Int 11132018                   Hearsay. Fed. R. Evid. 802.
                 Vid002_Clip 2_s.mp4; Clip               Relevance. Fed. R. Evid. 402- 403.
                      1:04:46 ‐ 1:05:53                Improper Bolstering. Fed. R. Evid. 608.
      1917    Jaquan Trent Interview Transcript,             Hearsay. Fed. R. Evid. 802.
                         11/13/2018                      Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
      1918     Jaquan Trent Proffer Agreement,               Hearsay. Fed. R. Evid. 802.
                         1/22/2019                       Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
      1919      302 re Jaquan Trent Interview,               Hearsay. Fed. R. Evid. 802.
                          1/22/2019                      Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
      1920       Agent Notes of Jaquan Trent                 Hearsay. Fed. R. Evid. 802.
                    interview, 1/22/2019                 Relevance. Fed. R. Evid. 402- 403.
                                                      Improper Bolstering. Fed. R. Evid. 608.
      1921     Jaquan Trent Proffer Agreement,               Hearsay. Fed. R. Evid. 802.
                          2/1/2019                       Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
      1922      302 re Jaquan Trent Interview,               Hearsay. Fed. R. Evid. 802.
                           2/1/2019                      Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
      1923       Agent notes of Jaquan Trent                 Hearsay. Fed. R. Evid. 802.
                    interview, 2/1/2019                  Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
      1927      Jaquan Trent Guilty Plea Form,           Relevance. Fed. R. Evid. 402- 403.
                           3/11/2019
      1928     Transcript of Jaquan Trent Guilty             Hearsay. Fed. R. Evid. 802.
                   Plea Hearing, 3/11/2019               Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
      1929     302 re search warrant executed at             Hearsay. Fed. R. Evid. 802.
                   248 Banner St., Danville              Relevance. Fed. R. Evid. 402- 403.
     1982A      Kevin Trent VIDEO Interview                  Hearsay. Fed. R. Evid. 802.
                       06182018_s.mp4                    Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.
     1982B     Kevin Trent 6.18.2018 Interview               Hearsay. Fed. R. Evid. 802.
                         transcript                      Relevance. Fed. R. Evid. 402- 403.
                                                       Improper Bolstering. Fed. R. Evid. 608.

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      1983    Tara Bennet Grand Jury Transcript,           Hearsay. Fed. R. Evid. 802.
                          5/24/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1991        Thomas Cosby Grand Jury                  Hearsay. Fed. R. Evid. 802.
                    Transcript, 5/24/2018              Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1992    Chrystal Cunningham Grand Jury               Hearsay. Fed. R. Evid. 802.
                   Transcript, 2/14/2018               Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1993       Josephine Davis Grand Jury                Hearsay. Fed. R. Evid. 802.
                    Transcript, 1/10/2018              Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1994    Ontwoinette Epperson Grand Jury              Hearsay. Fed. R. Evid. 802.
                   Transcript, 5/7/2018                Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1995       Tevris Fitzgerald Grand Jury              Hearsay. Fed. R. Evid. 802.
                    Transcript, 2/14/2018              Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      1997       Tameka Hairston Grand Jury                Hearsay. Fed. R. Evid. 802.
                    Transcript, 2/28/2018              Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2000    Ayuanna Jeffries Facebook Convo              Hearsay. Fed. R. Evid. 802.
                    with Jarrett Rivers
      2001    Ayuanna Jeffries Facebook Convo              Hearsay. Fed. R. Evid. 802.
                   with Jarrett Rivers 2
      2003      Ayuanna Jeffries Grand Jury                Hearsay. Fed. R. Evid. 802.
                   Transcript, 4/27/2018               Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2019   Ayuanna Jeffries Grand Jury Ex. AJ‐           Hearsay. Fed. R. Evid. 802.
                             16                        Authentication. Fed. R. Evid. 901
      2027     Bethany Robertson Grand Jury                Hearsay. Fed. R. Evid. 802.
                   Transcript, 2/14/2018               Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2028    Bethany Robertson Grand Jury Ex.             Hearsay. Fed. R. Evid. 802.
                           BR‐1                        Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2029        Ashana Snipes Grand Jury                 Hearsay. Fed. R. Evid. 802.
                    Transcript, 1/10/2018              Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2032     Sherita Bowe‐Staten Grand Jury              Hearsay. Fed. R. Evid. 802.
                     Transcript, 5/7/2018              Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2033     302 re Alexis Waddell interview,            Hearsay. Fed. R. Evid. 802.
                          6/14/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2034       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.

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                 1_s.mp4; Clip 1 2:59 ‐ 3:19           Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2035                 Waddell                         Hearsay. Fed. R. Evid. 802.
              Int_06142018_Clip2_s.mp4; Clip2          Relevance. Fed. R. Evid. 402- 403.
                         3:35 ‐ 5:01                 Improper Bolstering. Fed. R. Evid. 608.
      2036       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                  3_s.mp4; Clip 3 5:39 ‐ 6:27          Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2037       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                 4_s.mp4; Clip 4 6:55 ‐ 7:23           Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2038       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                 5_s.mp4; Clip 5 9:12 ‐ 9:22           Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2039       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                 6_s.mp4; Clip 6 9:43 ‐ 9:53           Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2040       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                7_s.mp4; Clip 7 12:00 ‐ 13:00          Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2041       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                8_s.mp4; Clip 8 13:24 ‐ 13:53          Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2042       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                9_s.mp4; Clip 9 14:20 ‐ 14:35          Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2043       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                  10_s.mp4; Clip 10 18:12 ‐            Relevance. Fed. R. Evid. 402- 403.
                            19:06                    Improper Bolstering. Fed. R. Evid. 608.
      2044       Waddell Int_06142018_Clip                 Hearsay. Fed. R. Evid. 802.
                  11_s.mp4; Clip 11 19:27 ‐            Relevance. Fed. R. Evid. 402- 403.
                            21:12                    Improper Bolstering. Fed. R. Evid. 608.
      2045       Waddell interview transcript              Hearsay. Fed. R. Evid. 802.
                                                       Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2046     Lashanda Washington Anthony                 Hearsay. Fed. R. Evid. 802.
                    Grand Jury Transcript,             Relevance. Fed. R. Evid. 402- 403.
                          5/30/2018                  Improper Bolstering. Fed. R. Evid. 608.
      2062   Justin Wilson Grand Jury Transcript,          Hearsay. Fed. R. Evid. 802.
                          1/10/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2063     302 re Terica Wilson interview,             Hearsay. Fed. R. Evid. 802.
                          6/28/2018                    Relevance. Fed. R. Evid. 402- 403.
                                                     Improper Bolstering. Fed. R. Evid. 608.
      2064    302 re Armonti Womack interview,             Hearsay. Fed. R. Evid. 802.
                         11/1/2018                     Relevance. Fed. R. Evid. 402- 403.

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                                                           Improper Bolstering. Fed. R. Evid. 608.
      2065       Agent notes of Womack interview,                Hearsay. Fed. R. Evid. 802.
                             11/1/2018                       Relevance. Fed. R. Evid. 402- 403.
                                                           Improper Bolstering. Fed. R. Evid. 608.
      2068        Jermay Smith Guilty Plea Form              Relevance. Fed. R. Evid. 402- 403.


          WHEREFORE, for the foregoing reasons, the Defendant respectfully request that the

   Court grant his Motion and exclude the exhibits identified above and for such other and further

   relief as the Court deems necessary and appropriate.

                                                          Respectfully submitted,

                                                          SHABBA LARUN CHANDLER

                                                          By: /s/      Aaron Balla Houchens___
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 1st of August 2019, I electronically filed the foregoing with

   the Clerk of the Court using the CM/ECF system, and the foregoing was electronically

   transmitted through the CM/ECF system to the following CM/ECF participants:

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                                                                /s/     Aaron Balla Houchens___




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